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                                U.S. DISTRICT COURT
5                          CENTRAL DISTRICT OF CALIFORNIA

6    NASRIN SHAPOURI, an individual,             Case No.: 2:15-cv-07241-MWF-KLS

7                 Plaintiff,                     COURT ORDER UPON PARTIES’
                                                 JOINT MOTION FOR DISMISSAL
           vs.                                   OF ENTIRE ACTION, WITH
8
                                                 PREJUDICE
9    JP MORGAN CHASE BANK; and
     DOES 1-10,
10                Defendants.
11         PLEASE TAKE NOTICE, the Parties to this matter—Plaintiff, NASRIN

12   SHAPOURI and Defendant JP MORGAN CHASE BANK—have jointly moved for

13   this entire matter to be dismissed with prejudice. Pursuant to said motion, this Court

14   now dismisses this matter in its entirety, with prejudice.

15   IT IS SO ORDERED.

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     DATED: May 3, 2016
17                                           Michael W. Fitzgerald
                                             U.S. District Court Judge
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                               Order Upon Joint Motion for Dismissal
